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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

DAWN VALLI, on Behalf of Herself Case No.
and All Others Similarly Situated,
Plaintiff, CLASS ACTION COMPLAINT
VS.
DEMAND FOR JURY TRIAL

 

GROUP, LLC, and ATS
PROCESSING SERVICES, LLC,

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AVIS BUDGET RENTAL CAR
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Defendants.

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Plaintiff Dawn Valli, on behalf of herself and all others similarly situated,
brings this action against Defendants Avis Budget Group, LLC (“Avis Budget”)
and ATS Processing Services, LLC (“ATS”) (collectively, “Defendants”) for
compensatory, equitable, injunctive and declaratory relief. Plaintiff makes the
following allegations based upon knowledge as to her own acts, and upon
information and belief, as well as upon her attorneys’ investigation, and alleges as
follows:

INTRODUCTION

1. This action concerns Defendants’ deprivation of the due process rights
of the consumer class alleged herein that rents motor vehicles from Avis Budget,
and the consumers’ resulting monetary damages. As alleged in detail below, Avis
Budget pays alleged toll violations, speeding tickets, and other traffic infractions
(collectively, “Fine(s)”), incurred by class members, often prior to providing them
with notice of the alleged Fine, and then charges them an administrative fee for
processing such violation. While the rental agreement between the class and Avis
Budget (the “Rental Agreement”) obligates the class members to pay Fines
incurred in an Avis Budget vehicle during the rental term, the Agreement does not
include a waiver of the class members’ rights to timely notice of, and/or to contest,
such alleged infractions; does not authorize Avis Budget to share the class

members’ personal information with, or delegate the processing of such fines to,
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ATS; does not authorize Avis Budget to charge its customers an unreasonable and
excessive processing fee; and does not authorize ATS or any other third party to
charge or collect from the class members any fee.

2. This action is brought on behalf of a nationwide class of persons who,
during the applicable limitations period rented a motor vehicle from Avis Budget,
and during the rental term were alleged to have incurred a Fine for a toll violation,
speed violation and/or other traffic infraction (the “Class”).

3. Avis Budget unilaterally chooses to pay such Fines on behalf of Class
members to the authority that issued the alleged violation, very often, if not
always, without notice to the Class member, and without making any effort to
contest the alleged Fine on behalf of the Class member, even though Avis Budget
has no knowledge as to whether the Class member actually committed the
purported infraction.

4. Avis Budget contracts with ATS to process and administer the
payment of the Fines for, and the collection of the Fines from, the Class. However,
the Class did not enter any contractual agreement with ATS. Nevertheless, Avis
Budget, together with ATS, not only pay the Fines without any meaningful notice
to the Class, but they also charge and collect from the Class an unreasonable and

excessive handling or administration fee, that serves as a profit center for both
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Avis Budget and ATS. Nowhere in the Rental Agreement is the amount of such
fee disclosed to members of the Class.

5. As a result of Defendants’ conduct, Plaintiff and the Class have been
injured in the form of, inter alia, the deprivation of their due process rights to
contest the Fines, and economic injury, including the obligation to pay Defendants
an unreasonable and excessive administration/handling fee.

PARTIES
I. Plaintiff

6. Plaintiff Dawn Valli is a resident of Broward County, Florida. She
rented a car from Avis Budget, during which time Defendants paid a Fine for a
speeding violation issued against the vehicle during the rental period. Defendants
did not provide Mrs. Valli any notice of the alleged speeding violation until after
Defendants paid the Fine. Defendants charged Mrs. Valli’s credit card $180 — the
violation amount of $150 and an unreasonable and excessive “handling fee” of
$30.

Il. Defendants

7. Defendant Avis Budget is a Delaware limited liability company with
its principal place of business and North American Headquarters in Parsippany,
New Jersey. Avis Budget does business throughout New Jersey, including in this

District, and throughout the nation. Avis Budget rents cars and trucks to consumers
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under the brand names “Avis” and “Budget”. Upon information and belief, all of
Avis Budget’s polices, practices, and business decisions relating to the facts
alleged in the instant complaint were made in and/or originated from Avis
Budget’s New Jersey headquarters.

8. ATS, headquartered in Scottsdale, Arizona, with regional facilities in
New York City, and other U\S. cities, is a division of American Traffic Solutions,
Inc. ATS contracts with companies such as Avis Budget “to ensure vehicle owners
are not held financially responsible for violations committed by drivers such as
parking tickets or other traffic-related citations mailed to the vehicle owner.” ATS
administers and processes the collection from the Class of the Fines paid by Avis
Budget and/or ATS on behalf of the members of the class, and in concert with Avis
Budget imposes an administration fee/handling fee on the Class.

JURISDICTION AND VENUE

9. This Court has jurisdiction over the subject matter of this action
pursuant to 28 U.S.C. § 1332, as amended by the Class Action Fairness Act of
2005, because the matter in controversy exceeds $5,000,000, exclusive of interest
and costs, and is a class action in which some members of the Class are citizens of
different states than the Defendants. See 28 U.S.C. § 1332(d)(2)(A). This Court
has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C.

§ 1367. This Court has personal jurisdiction over Defendants because they are
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authorized to do business and to conduct business in New Jersey, they have
specifically marketed and sold their services in New Jersey, and have sufficient
minimum contacts with this state and/or sufficiently avail themselves of the
markets of this state to render the exercise of jurisdiction by this Court permissible.

10. Venue in this Court is proper pursuant to 28 U.S.C. § 1391 because a
substantial part of the events giving rise to the claims asserted herein occurred in
this District and Defendants are subject to personal jurisdiction to the federal court
in this District. Moreover, Defendants inhabit and/or may be found in this judicial
district and the interstate trade and commerce described herein is and has been
carried out in part within this judicial district.

FACTUAL ALLEGATIONS
I. Defendant Avis Budget

11. Defendant Avis Budget enters contracts known as Rental Agreements
with the members of the class. The Rental Agreements provide in part as follows:

15. Fines, Expenses, Costs and Administrative Fees. You'll
pay all fines, penalties, and court costs for parking, traffic, toll
and other violations, including storage liens and charges. You
will also pay a reasonable administrative fee with respect to any
violation of this agreement, such as repossessing or recovering
the car for any reason.

See Rental Agreement attached hereto as Exhibit A.
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12. The Rental Agreements do not include any language that serves to
waive the rights of the Class to receive notice of the alleged Fines or to contest the
alleged Fines.

13. The Rental Agreements do not define or otherwise identify the
amount that Avis Budget will charge the Class for the “reasonable administrative
fee.”

14. The Rental Agreements do not authorize any third party to pay any
Fine on behalf of the Class, collect the amount paid for a Fine from the Class, or
charge the Class any administrative, handling or any other, fee.

II. Avis Budget’s Relationship With ATS

15. American Traffic Solutions, the parent of ATS, claims to adhere to a
“strong consciousness towards ... the general public”, which includes an
“approach [] to proactively address compliance and ethics before potential issues
arise.” ATS maintains that its Ethics Program, which incorporate the company’s
values of “integrity” and “respect” is an “integral part of how ATS does business.

16. ATS’s Code of Business and Ethics includes the following tenets:

“Our reputation for integrity and excellence requires careful
observance of the spirit and letter of all applicable laws and

regulations, as well as a scrupulous regard for the highest
standards of conduct and personal integrity.
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ATS will comply with all applicable laws and regulations and
expects its directors, officers, and employees to conduct
business in accordance with the letter and spirit, of all relevant
laws and regulations as well as to refrain from any dishonest
or unethical conduct.

The Code is designed to promote ATS values and to deter any
wrongdoing. The Code is crucial to ensure that our
employees—as well as the public at large—are aware of the
standards we have set for ourselves.

We will ensure that all disclosures made in financial reports and
documents are full, fair, accurate, timely and understandable.”

(Emphasis added).

17. According to its website, “[Defendant] ATS Processing Services
contracts with companies that own a fleet of vehicles such as, but not limited to
rental car companies, to ensure vehicle owners are not held financially responsible
for violations committed by drivers such as parking tickets or other traffic-related
citations mailed to the vehicle owner.”

18. Upon information and belief, Defendant ATS and Defendant Avis
Budget entered a contract pursuant to which ATS collects Fines that Defendants
pay on behalf of the Class, and also collects from the Class administration and

handling fees that Defendants unilaterally set and charge to the Class.
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iI. Defendants’ Deprivation Of The Due Process Rights Of, And Imposition
Of Excessive Fees Upon, The Class

A. Defendants Pay Fines Allegedly Incurred by Class members
Without Notice to the Class

19. Local and state governments throughout the United States use
automated devices to identify and record alleged traffic infractions, such as the
failure to pay tolls, speeding, running red lights, and other infractions. The
authority that issues tickets and seeks to impose Fines for such infractions typically
mails the ticket to the vehicle owner. The issuing authority identifies the owner by
capturing a photograph of the vehicle’s license plate, and identifying the owner
from databases that allow the matching of the owner’s name and address to the
license plate number. As a result, the recipients of such alleged infractions are not
aware of the allegations against them until receipt by mail of the notice from the
issuing authority.

20. Upon receipt of such tickets, Defendants do not immediately notify
the respective Class member. Rather, to “ensure” that Avis Budget is not held
responsible for the alleged Fine, Defendants first pay the alleged Fines, and
subsequently provide notice to the Class member. However, by the time the notice
has been issued, the Class member’s opportunity to contest the Fine has been lost;

Avis Budget has paid the ticket, effectively admitting the Class Member’s guilt;
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the matter closed, and the only remaining step is Defendants’ collection of the
amount paid from the Class, along with the handling fee.

B. Defendants Charge the Class Unreasonable and Excessive Fees

21. While Avis Budget’s Rental Agreement discloses that it will charge
the Class a “reasonable” administration fee for processing the payment of Fines,
the Rental Agreement is silent as to the amount that will be charged.

22. Defendant ATS’ collection system is largely automated. ATS sends
form letters to each Class member, who typically pays the Fines online using credit
cards.

23. Although Defendant ATS’ cost in human labor and time to “process”
the Fines is relatively small, Defendants impose an unreasonable and excessive
handling fee, which allows Defendant ATS to earn a profit from such activity, and
presumably to share a portion of such profits with Defendant Avis Budget. In
other words, by depriving the Class of the opportunity to exercise their due process
rights to contest the alleged Fines, Defendants profit, while the Class is damaged.
IV. Defendants Paid An Alleged Fine On Behalf Of Class Representative

Dawn Valli, And Then Charged Her An Unreasonable And Excessive
Handling Fee

24. On June 11, 2014, Dawn Valli rented a car from Defendant Avis

Budget at the company’s Baltimore-Washington airport. See Rental Agreement
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attached hereto as Exhibit A. She returned the car on June 16, 2014. See Rental
Receipt attached hereto as Exhibit B.

25. During Mrs. Valli’s rental period, the District of Columbia
Metropolitan Police Department purportedly determined that on June 11, 2014,
someone driving the car rented by Mrs. Valli drove the car at 52 mph in a 35 mph
zone. See Notice of Infraction attached hereto as Exhibit C. In fact, the car was
driven by Mrs. Valli’s husband, Frank Valli, for the entirety of the rental period.

26. The District of Columbia claims that it determined the speed of the car
by photographing it, and through the use of radar calculated the speed of the car.

27. Just 7 days after the alleged violation, on June 18, 2014, the District of
Columbia mailed the Notice of Infraction to the vehicle owner, which it
determined from the license plate. Jd. The vehicle owner is identified as PV
Holding Group, which is a subsidiary of Avis Budget. Jd. The Notice of
Infraction includes “DIRECTIONS FOR ANSWERING”:

YOU HAVE 60 CALENDARS DAYS FROM THE MAIL DATE OF
THE TICKET. IF YOU DO NOT PAY OR CONTEST THE
TICKET WITHIN 30 CALENDAR DAYS OF THE MAIL DATE
OF THE TICKET YOUR FINE WILL DOUBLE.

Please choose one of the following answers: 1) Admit Pay the full
amount due; 2) Admit with an Explanation Request in writing that

the fine associated with the violation be reduced; or 3) Deny

Appear for an in-person hearing between the hours 8:30 am - 4:00 pm
Monday-Friday [.]

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28. The Notice of Infraction plainly warns the recipient that “[i]f [they]
want to contest the ticket, penalty, or both do not pay the ticket until you receive
your decision from DMV.” Jd. (emphasis added).

29. The Notice provides the recipient sixty (60) days to contest or pay the
ticket, and the alleged fine is $150 if paid within 30 days and $300 if paid within
60 days. In Mrs. Valli’s case, these deadlines were as follows:

a. August 17, 2014 — Deadline to Contest the Ticket
b. — July 18, 2014 — Deadline to Pay the Ticket for $150.00
c. August 17, 2014 — Deadline to Pay the Ticket for $300.00

30. Defendants wasted no time in depriving Mrs. Valli of the right to
contest the ticket. Defendants paid the ticket on receipt, or almost immediately
thereafter. This is evidenced by the fact that on July 3, 2014-45 days before the
expiration of the time period allowed for contesting the ticket, and 15 days before
the fine increased from $150 to $300 — Defendants sent Mrs. Valli an AVIS RENT
A CAR VEHICLE VIOLATION NOTICE, advising that Defendants had already
paid the fine in the amount of $150.00, and demanding that she pay such amount,
along with a $30 “handling fee,” to Avis Budget.

31. If Mrs. Valli had received timely notification of the Fine, and Avis
Budget had not unilaterally paid the Fine on her behalf, she would have had three

options: Pay the Fine; adjudicate the citation by mail or request a hearing. By

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paying the Fine without notice to Mrs. Valli, Avis Budget wrongfully and
impermissibly forced upon Mrs. Valli an admission of guilt without an opportunity
to be heard.
32.  Inits FAQs, the Metropolitan Police Department answers the question
“What do I do if I receive a ticket in the mail?” as follows:
A ticket issued through the District of Columbia's Automated Traffic
Enforcement Program is the same as any other moving ticket issued
within the city limits. You may pay the fine, which is an admission of
guilt; adjudicate the citation by mail, or request a hearing. Specific
instructions are included on the back of each NOI that is mailed.
Failure to respond to the ticket, either by paying the fine or requesting

a hearing within the specified time frame, can result in additional fees
and penalties. Telephone or mail responses are encouraged.

http://mpdc.dc.gov/page/automated-speed-enforcement-fagq (emphasis added).

33. Incredibly, Defendants only afforded Mrs. Valli until August 2, 2014
to voluntarily pay the amount demanded, or Defendant Avis Budget would simply
charge such amount to Mrs. Valli’s credit card. Defendants’ payment deadline was
15 days prior to the date originally afforded by the District of Columbia for
Mrs. Valli to exercise her rights to contest the ticket.

34. Of course, by the time Mrs. Valli received Defendants’ Vehicle
Violation Notice, her opportunity to contest the ticket had already been unilaterally
waived by Defendants. After she received the Avis Rental Car Vehicle Violation

Notice dated July 3, 2014, Mrs. Valli contacted the issuing agency in an attempt to

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contest the ticket, but was advised that the payment was considered an admission
of guilt, which did not permit her an opportunity to dispute the infraction.

Vv. The Conduct At Issue Is Centered In New Jersey

35. Much of the conduct at issue arises and emanates from New Jersey.
As detailed above, Defendant Avis Budget, whose contract and conduct upon
which this case is primarily based, is headquartered in Parsippany, New Jersey.
Upon information and belief, all policies and procedures pertaining to decisions
concerning Defendants’ alleged conduct initiated from New Jersey.

CLASS ACTION ALLEGATIONS

36. Plaintiff brings this nationwide class action pursuant to Rule 23 of the
Federal Rules of Civil Procedure. Plaintiff brings this action on behalf of herself
and all members of a class comprised of all persons who, during the limitations
period applicable to this action, (a) rented a motor vehicle from Defendant Avis
Budget, (b) were issued a fine, penalty, and/or court costs for parking, traffic, toll
or other violation, and (c) on whose behalf Defendants (i) paid the Fines prior to
giving the Class notice of the alleged Fine or (ii) collected from the Class an
administrative and/or handling fee (the “Class”). Excluded from the Class are
persons that received parking tickets or any other ticket at the time they were
issued.

37. The Class is so numerous that joinder of all members is impracticable.

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38. There are many common questions of law and fact involving and
affecting the parties to be represented. These common questions of law or fact
predominate over any questions affecting only individual members of the Class.
Common questions include, but are not limited to, the following:

(a) Whether Defendants unilaterally and illegally waived the rights
of the Class to receive notice of alleged Fines before such Fines are paid by
Defendants;

(b) Whether Defendants pay Fines prior to giving notice to the
Class of the alleged Fine;

(c) Whether Defendants’ administrative and handling fees are
reasonable;

(d) Whether Defendants engaged in deceptive and unfair business
and trade practices;

(e) Whether the Class has been injured by virtue of Defendants’
unfair and/or deceptive business practices and conduct; and

(f) | Whether the Class is entitled to injunctive relief.

39. Plaintiffs claims are typical of the claims of the respective Class she
seeks to represent, in that the named Plaintiff and all members of the proposed
Class (a) rented a motor vehicle from Defendant Avis Budget, (b) were issued a

fine, penalty, and/or court costs for parking, traffic, toll or other violations, and

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(c) Defendants (i) paid the Fines prior to giving the Class notice of the alleged Fine
or (ii) collected from the Class an administrative and/or handling fee.

40. Plaintiff will fairly and adequately protect the interests of the Class,
and has retained attorneys experienced in class actions and complex litigation as
her counsel.

41. Defendants have acted on grounds generally applicable to the Class,
thereby making appropriate final injunctive relief.

42. Plaintiff avers that the prerequisites for class action treatment apply to
this action and that questions of law or fact common to the Class predominate over
any questions affecting only individual members and that class action treatment is
superior to other available methods for the fair and efficient adjudication of the
controversy which is the subject of this action. Plaintiff further states that the
interests of judicial economy will be served by concentrating litigation concerning
these claims in this Court, and that the management of this Class will not be
difficult.

CLAIMS FOR RELIEF

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COUNT I
(Violation of the New Jersey Consumer Fraud Act,
N.J.S. §§ 56:8-1, et seg. as to all Defendants)

43. Plaintiff repeats and realleges each and every allegation contained
above, and incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein.

44. Plaintiff brings this cause of action individually and on behalf of the
Class as defined above.

45. This Count arises under the New Jersey Consumer Fraud Act, N.J.
Stat. § 56:8-1, et seqg., and is brought on behalf of the Plaintiff and members of the
Class pursuant to §§ 56:8-19 and 56:8-2.12 of the Act.

46. Section 56:8-2 provides, in relevant part:

The act, use or employment by any person of any
unconscionable commercial practice, deception, fraud,
false pretense, false promise, misrepresentation, or the
knowing, concealment, suppression, or omission of any
material fact with intent that others rely upon such
concealment, suppression or omission, in connection
with the sale or advertisement of any merchandise or real
estate, or with the subsequent performance of such
person as aforesaid, whether or not any person has in fact
been misled, deceived or damaged thereby, is declared to

be an unlawful practice. ...

47. Plaintiff and other members of the Class are consumers who rented

motor vehicles from Defendant Avis Budget pursuant to a consumer transaction for

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personal use and are, therefore, subject to protection under the New Jersey
Consumer Fraud Act, N.J.S. § 56:8-1, et seq.

48. Defendants’ acts, practices, misrepresentations, concealments, and
omissions of material facts in connection with the rental of motor vehicles
constitute unlawful practices within the meaning of the New Jersey Consumer
Fraud Act.

49. Defendants engaged in unlawful practices by (a) failing to disclose that
Defendants would pay any alleged Fines imposed upon the members of the Class
prior to giving them notice of the alleged Fines and the opportunity to contest such
Fines and/or (b) charging the Class unreasonable and undisclosed administration
and/or handling fees for the processing and collection of such Fines paid by
Defendants on behalf of the Class.

50. Asaresult of the use and employment by Defendants of the unlawful
acts, Plaintiff and the other Class members have suffered an ascertainable loss of
money or property and have been damaged thereby.

51. Under N.J.S. §§ 56:8-2.11, 56:8-2.12 and 56:8-19, Plaintiff and the
other Class members are entitled to compensatory damages, including treble

damages, attorneys’ fees, and cost of suit.

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COUNT I
(Breach of Implied Covenant of Good Faith
and Fair Dealing as to Defendant Avis Budget)

52. Plaintiff repeats and realleges each and every allegation contained
above, and incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein.

53. Defendant Avis Budget and the Class entered contracts that contain an
implied covenant of good faith and fair dealing that required Avis Budget to
conduct its business with the Class in good faith and deal with them fairly.

54. Defendant Avis Budget breached the implied covenant of good faith
and fair dealing by (a) failing to disclose that Defendants would pay any alleged
Fines imposed upon the Class prior to giving them notice of the alleged Fines and
would deprive them of the opportunity to contest such Fines and (b) charging the
Class unreasonable and undisclosed administration and/or handling fees for the
processing and collection of such Fines paid by Defendants on behalf of the Class.

55. Plaintiff and the Class have been damaged as a direct and proximate
result of Defendant Avis Budget’s conduct.

COUNT Tit
(Unjust Enrichment Against All Defendants)

56. Plaintiff repeats and realleges each and every allegation contained
above, and incorporates by reference all other paragraphs of this Complaint as if

fully set forth herein.

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57. Defendants received, and continue to receive, a benefit at the expense
of Plaintiff and the Class members in the form of “administration fees” and
“handling fees” which Plaintiff and the Class members did not agree to pay in the
amounts charged by Defendants.

58. Defendants knowingly and intentionally accepted and retained these
unreasonable and undisclosed fees provided by Plaintiff and the Class members.

59. Asa direct and proximate result of Defendants’ improper retention of
unreasonable and undisclosed fees, Plaintiff and the Class members were deprived
of the use of their money that was unlawfully charged and collected by
Defendants, and are therefore entitled to reimbursement of any money unjustly
paid to Defendants.

60. It would be unjust and improper under the circumstances to allow
Defendants to retain these unreasonable and undisclosed fees.

61. Plaintiff and the Class members have no adequate remedy at law to
recover these unreasonable and undisclosed fees from Defendants Avis Budget and
ATS.

WHEREFORE, PLAINTIFF PRAYS FOR RELIEF AS FOLLOWS:

62. That this action be certified as a class action on behalf of the proposed

Class of all persons who during the limitations period applicable to this action,

(a) rented a motor vehicle from Defendant Avis Budget, (b) were issued a fine,

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penalty, and/or court costs for parking, traffic, toll other violation, and (c) on
whose behalf Defendants (i) paid the Fine prior to giving the Class notice of the
alleged Fine or (ii) collected from the Class an administrative and/or handling fee.

63. Monetary damages and/or restitution, as appropriate;

64. Awarding declaratory and injunctive relief as permitted by law or
equity to assure that the Class has an effective remedy, including enjoining
Defendants from continuing the unlawful practices as set forth above, and directing
Defendants to identify, with Court supervision, victims of their conduct and pay
them restitution and disgorgement of all monies acquired by Defendants by means
of any act or practice declared by this Court to be wrongful;

65. Punitive damages;

66. Awarding a declaratory judgment with damages awarded as
supplemental relief;

67. Awarding all costs, including experts’ fees and attorneys’ fees,
expenses and costs of prosecuting this action; and

68. Such other and further relief as may be just and proper.

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JURY TRIAL DEMAND

Plaintiff demands a trial by jury on all issues so triable.

DATED: September 30, 2014

 
  
   

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SU 0] PRUMN}ad 99 ySHUL 129 BU] "HES BY MAMI |p) yy)
“SOIMDELS RPLOLY GEE ELS WosIas Yr SoUNepION
Uy} opgeysiund ‘pnesjep 0} slay] yo aruopjas ee)
bud sie (quowdynba 10 Aadosd 0} aflemup 103 9350)
Buppnpuj) anp syunotwe ge Avd 0} anya) pur poyod
Jevies ay) 16 uopeadue uedn quowdinbe 10 dusdosd
jequas wanjas 0) aanyjey Ajdde osje Aew 29 anasas e pue
Poued uojsuayxa aig oj patidde aq Aeus ayer s9ySiy 10 yustayo
2 voisuayxe ue juerB op am y “wolaIDssp o]0s uno Uf "jsonba!
nod povad aupua ayp 10} YF JueWG 10 Uo|suaWNe ue yuedB you
Aeui 10 Aeur ofa “ajep winyai nok aiojag Wysanbay ey gphg-740
-BGQ-| Ye SN PeyvOD SAU Nod jeyuas Aue puaTRs 0} YSIA NOK J)
“paranodal 10 pouunjal Ajjenpye s! 489 ayy un anupUos a8 aif}
j0 $50] 20 0) aBewep 10} ple sabrerp jJe 20) Aypqisuodsas ined
‘suadoos Uolye30] yet) Wats 129 fj}-DUN JOU OP BX I #9 ay Jo
vowssassod jenpe ayz}al am pue suadoas uonenoy wanjas ay mun
BMI2B 0} SNA} UOD fH ayeL DIPNAd ese juBLINIOp jaya) dU UO
poleys saGieys je pue anugod jr 4e9 ay} JO $80] 20 0} abewep
40} Ajipqisuodsar sno “op nod jf ‘paso are am uayas guy 812
Je) aly] uanjar jou Aewd no, 99y wuN}at aye} e pabreyp ag Aes nod
“roye] pauuniyad ye“pue fue Aw oye Jey Biy 10 ualaytp e bape]
Jo Joye ye winyad OK |} “Pueutap snd UOJaUOOs W UINjaN snUL
HOA, “UOLUNdOD jPRHAl aU} UO payer_puE auAN ay) Je puR ajep ayy
wo ‘paydeoxa Jeo} pur zeam Alpuipio y} pantazay nod uonipues
SUES OY) Ul 42) SY WINIad ISM HO, HED Bi] JO Wey
“suoneiygo sok
Jajstien} 10 disse youued nod jeu) pue ‘asodind Aue Joy juabe smo
you aie nod you saiBe oye nog “s|Ay 0} 29}91 , St, pue ING, ‘aN,
uawoastie spp subis om uosiad ayy 0] z9j91 Jno, pue no
“SHou}NOD Me} IPAS. AseD yDiy UF equal Sy) Buparon uospsunl
2 Jo A49} ou Aq paysqiyord jou s| ua} ypns Aue papjaodd layer
Wewnoog jejuay sip jo sjoued algo ay) KO pe Mojag suusAy
Su} O} sare nO, Wou'ag fenynw 10} JUsLU|feg e Afajos st jeyUAL
UpLysa UBLINDOp [e}UAH aty UO Paq|asap 42) ay} SM WON] JUS! TOA
“JuaUuNdop yey) ayexedas out si arayy IF ‘SUNAY
ASaY 6 Jeo] OU) UROUE AoANeUIOYE ,WOUUNDOp jeIUAl, oy]
0} SaIUaiaja! LAypNY "(, Sly.) WAWUNIOD |eYAN Bey Uo palnuapy
asuany] Wayshs sly Juapuadapul at) 10 “37] ‘walsts Je y
uay SAY pue syosinod uaanyag JuauLaabe jejuar aif synyysuO
saijebo} saBiey> jepuar panduion yy proves wnjal & pue
‘nod dq paufis juawnoop jewuas ayy ‘suonspuon pue sua} osayy

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uta ajyoud nok Bupepdn Aq aajaias Buines-auuiy sity) jo a

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“uojssassod jenpe aye) am jun seo ay) Jo ayqisucdsar

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Case 2

ind 9} sso} jepeapiauy Ino fo qe 30 Aue saad 0] sn azOUINe HOA ‘sAINSUTL SI
$) pea nod 4g papiaoud s} auensul ay) {f 20 Soquinu Ajod pue sainsui auf jo
230) ques sn aptaaid piss nox ‘aouernsu] Aue Aq paxano) st Ayiiqisuodsal 10, |
TLpejuapnuy, }Aue ji ‘saflveys aberoys pue Guo) snyd “aay aaNensyujepe ue sm

2M aH NO cy preted oye 189 By} fo ast fo sso} 50] Aed Osjey, NOK SSO] sO
id sty "ua]0}S SBaK H 910)8q BhRA yoHeLU Hey $e a1 sn Abd yw nod palanora!
UB LAOS 51 16) aly yf ‘spaaroid jes ayy pue pabemep sem y arojaq onjer
UJ) [ID 5,129 ayy vaamyog avereyip aty ANd ytea NOK “uOHINUOD pabiewep sy
1 By) [95 0} SUILMIA}ap am ‘VOlesip afas sno Ul “10 ‘S03 ledan payewnsa sno
pa nod pafiewep st 109 ayy jf “wunyar jo own oyy ye sabeyp [equal Inok joped se
jue pue 'srowiul ‘ssej6 se ons swe} pabewuep 40 1504 jo uauutene|dal so.sedan jo
jenyye ayy 10 NOX abzewp oj $n azirouyne nod ‘ney Aq payjusrad au pasne)
20010 ‘asne> jo ssajpuebar 12) ay) oy abewlep 10 40 $$0) jf 204 sn Abd [hte NOA
‘ajgusuodsay are nok’) yderBeied jo uojejoia e yo ynsal PaNpU warp ese

LED 10 4864 $1129 04] $130 Aq] daz3e JOU Op NOK 1 “TRY OTA gu ssOPoseuEG
*wut0y aoyyou oyeaudas nj 20 ‘siNIO] 8504) Jo PUD OyP Ie 20 WUOWUIOP
92 80) Ne NMoYs abewep sso] UO Bijou ayy ujpoos abpapmouye
OA 223 ay o} abewap 40 $90) 19A09 Aew sdueinsu] tO INOA yEH)
wpe uaeq aney not abpopoupe Ho, ydesieed Buynoyo} ey) ui paqunsap ale
Uep puesso) Ler aypoa

 

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Wey} Uo paypads se junowe ayy 0} dn Je) ayy o] aBewep 20 580} [je aluNsse am
uaalbe sin ta aouepsanse ui payeedo 5} 89 ap pue ‘aye Avep payesspus ayy je
ydaroe nod 11 me} Aq payed atoym Ajuo ajqenene si (MGg} saniey sleweg
jeley quawnoop jejuai ain uo paypads se Aljiqisuadsal, Jo yunawe mod 10}
42 Ue ‘L9}O}S 129 Bip) Jo ANQAODA! 40 “juapIroE Ue O} Poye}a, ssapuN Or1AIaS aN)
tuo) ‘SonAap Anua ajouial 10 sKay itajo}s 30 pellewen so} 10} ae] Aq paywuizad
soxo Je) ayy 0} abzwEp Ja sso fe awunsse am oWoaibe sip yj ayuepiOe
iyerado 51.229 a4] pue ‘ned 04 payual ste) ay) JeyL Aep eed 0 ry pea 30} aye1
OUT eTWALUNIOP jeyuad ayy UO SHEN NOK Aq FAG] [InpAdawe nod yf AloyepueW
pue arueinsuy JOM $1 (May) zeleny SGewed $50

 

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JUpnpuy’saxe) aspxa pue jeyuuosiaus jeyuat’asn ‘sayes je Aed ||, no, "SOHO

‘s}S00 pu saaj shawzoye
uoseal 0} payuy you yng Guipnjul seppatuas jebaj ansind wea siay yoga
JOIALAS Jo YoU PUL Asn npaepUN Ue Se Pamala aq fimasn ;y}0 Auy'sapod yons
 SiAy jo UCNezuOUINE ssaldxa ay aney Nox yuesaidal nok wawaale (equal sity
Guuayua Ag ‘sjenpiaip-ui 9} sapoa junoasip sanssl stay ‘sayjeuad pue sabes
pareja! IP pe jeyuat mod Suunp paasnoul syo) [2 10) s0yeN|sjunupe weBosd
fo.20 sn ded pea nod fayieqedes jusuuAed oy ayewoyne ya ze) ease nod p) °08
| pazuoyne ole nod yey puaseiday nod ‘ied pny) e oj seByew yans Aue 119 0}
anp nok 4] ~saGserp ypns je yoyuaushed soy ajqusuodsad Ayeraaas pur Anuyol are
dtua so asnsuy ue se wns ‘papig are saBreyp peual Aue uss 0) Aued pty Aue
40, 1e> au} Wy aows nok yt aGreIp jeuonppe ve Aed Ano, Yaey Gurjows uoU e
HOU ayy OSM NOK O} S|qeINGUAe sesso ip sues BAISSODXD JO} WO] NOUN
ut 5,12) ayy Sumespp 10) 29) ajqeuoseas e Abd asye JA No, 2a) Uandwapal e
exp ag dew nok welBoud spiemas Asha CLA PayeBOsse SayIoA 10 suOdAOD
dled spremad Aue wasald nod y sabyeypsns pure s9aj seo ‘seal Alanoral asuaa}|
BA ple ‘Seay Alsnova! vojssantie> so;pue sag} Ale] odie ‘paynuiad aay ‘nue
Jas snogueyja2siu 10; jequas ayy 0} Ajdde yeu) saGzeus ype Aed ino, ‘patie aq
sayel aiqeaitdde asiavayjo sno yuavinrop (2jual ay) UO raypars sajel enads JO}
ypluon Aue apes Apcuu0o 6} yey no seottawstUOD jeyual ay) Yiu Uo Aep Jepuaye
10 Bugueys App repuajen 2 jo pred Aue 10 dep sepuafed anynoasiios ysea "uswwnoOp
4 ay) wo paynads st Aep sepuare? e yl Yo stifag jeyual ayy aynujw pue inoy
e Gunzeys spouad soy ye An MDasuOD 0} saydde abreyp Auep ayy sajowope
qsuf-4ioy 22] ay) Surpead Aq says au BURWZO}OD tm a4 8a] Pary B 10 ‘aBeonu

 

    

   

    

  

mA y ‘See (aN. :3SAN).P
Sif] allt yo duo Aueduidy osubnsu

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UO} pUoD ‘siuts} yypads ayy]

  

‘NG-BON}y|OY SAY |]

 
 

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32> joyl94 ayy Bulaup oyun p:

© pa ! jie
“0 6 ydeufeved sepun'papiaoid fule'y sui Ayjiaistiodsasenuel
7 Ajunujun ag uaa asi afaiiad yoy.

 Mawojgito auy ‘nok jsulebié

 

quauwoaiby. jeqiay ‘sql zepiun: stiualy Aiqesuedse jeroueuy pue
“fly jo uoneurqiue.aip'dg paproye uonayord Qoo‘odo'?$ ah Whe. |
b Aed 0} Ajdde inom sainyed un
-jod wo noo} Kiet abe
O Siu ayy pur «bapioye. ton
3e St yy #1 eAaMOH, Alen Auanbay Suutel as 3
yod aif jo suliay ay) Bupyioyganod Ag poujuisajap ag Aju
So1}}00 WO ANIOK "yuerxe JeyM OY plie-{UIOd jeya ye TTY
fieeno> jo-uoneoydnp: e"apinoid -Aeti: ny. quaye.yeyy OY pue
"ofieiakod jeuonippe opyndid AeusXaifod jeuosiad ieuyo.10 ‘aqouioy:
“He -paumo Ue Uo abejancd Buipinosd Aaydd aouerrisuy jevostadind):~
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abpiehd; 'soieig paylun Su} ul pausnyer
ngiepeue’sy pue sales payjury SIN uuLaan
esiowiado Ti

caw uy fiddle ou soop
pue pajuar $i Je) ayry! Ald}

   

     

 

 

  

      

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USING 1a

os POO'ODO'z$ Uiniipeeud ry ayrplie TueuladiBy eluay si.

      

    

 

  

sijod souesnsuy-ayeiedas-b-5y yy. "Wuatl
} ul-paiyiuinad Se }1yak [Bluey Slay ue Jo ches
-do.s0 $n au Ab pasnes abeiuep Aneto. pue yieapjAin

 

  

 

            

“aonb fetvay si) ul

 

 

 

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Case 2

aaup 2 jo anuabyBau ayy Aq pasner st Ainful ji parayns saflewep pue
iaSsO} 20] 129 e uj sraBuassed Joyo pue nod sjrejord aberarea ysyiojows
JOINSUYSPUN PUR PAIASUIUN JOU] PURISFaPUN Nog wed aig UP siabuassed
ayjo ye pue nox 10} quawaaibe sip) yi UOMaUUO? UL eduBINsUE
18S Jo ajedyiied 10 aaueinsuy jo Anyod Aue sepun pue seberarcd
NuBIMsu apqowomne jeuondo ye pue ysuo}owW palnsuyspin Jo
yansuwin Huppalas aze nod ‘mel Ag poyswuad vaya apnyE|s aqenidde
pun parnbar wovutup ay) aq geys swan ayy ‘Mey Aq palduuy
0 pounbo) ave sabereaad asaig jo Aue alaly ml paniuued yuaye
24} 0] sabezanod yons je Dalal am pue NOA pue ‘aBeranns aiqepalas
o jeuondosoyjo Aue pueobesaneo jsitojow pornsuHopUN Jo palnsujun
uosynduoauou “yey ou Kejuauiajddns p) ‘palopual ave ysiuiny am yeUn
rowrajord jo sya ajgenye lp Jaye YOU Juans yNs ul yng ‘voNDa}OLd
uewud opioid 0} panda: aue am ssajun “wiley Aue ysuiebe asuajap
3) uausdojdusa jo asinco tp 1 19 50 no Bursue aaho wo Ho 20)
o ‘Ajruuey Sranup at Jo {wayy 10 HOA yi Guupiser uondope so ebemnew
pooiq Aq payejay sraqurow Ajiuey sr8Aup ay 10 Aue sno jo roquiatu
ue £0 Yeap 8 JOU a] pep MOA 10 ‘Nok o} infu Aupog 10} abeaA0)
q) ‘sabewep Aiejduexa 20 aagiund ‘sauyjeuad 'sauy 10) aBerano
8) apisord you gies aa ng] aigenidde Aq paynborssapin yep pueysiapun
10, “ayo HI NO Je UONDAdSUL INOA 20) a}qUHeAR aq {pA a}eryMIaD
ojpue Ayod ayy jo Adoo  ‘asen Aue uy ‘asooip am se ‘U}og 10 YOyjod
AURINSH Ue 10 B)UANSU| JOS JO B}ENYAD B sapuen obeIaAgd apiAord ued
i yeu deafle no) “Aydde yin suns JuapNoe sip Diya UE UONpIpsun!
yy JO suey Auiqisuodsal jepueuy ay) uauisarde siyy Aq popiope
i 0} papuayul you Si aBerenos axayya aaueysut 20 uosiad Aue 0] 10 7B) aYp
slip 0} JuawaarGe sy) Aq paynuiad jou auokue of sey Jo uonelado
rapuays st uorpazord siuy jf ‘Aen Ale wy yualiapuos 30 Arepuoses
sceoxe ‘Lieupd seyjeya ‘ands zsyje Aue wed Seapp sso
{ue 40 "nod 0} o]quppAe osumnsHy a ue "Jo sso3Ke
1] you pus “ay Arepuoses oq jays an Ag pepjaaid uoppayoid
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ug Ypaya ws vonaypstan ayy jo me] oun £q passnbas syuny Ayqisuodses
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auyo auoauies jo Apadord ayy GurBewep 10 sieylo 0] weep 10 Anty
dpoq Bsn ga suet papayud oq iat uowsasbe si Aq yy
UP 0} payidue

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0 asniods anos ‘nok Ajuo ‘Me| aygenjdde Aq pazuoymne Ayenipads
SIMJay}O aay deoxy “asuaay] INOA panss| yeu) voRDEPSURf aly
Syuaupedag apiyan sjopy sy) Ag Dapinoid uoneuoyl uOdn paseq
evar Auvap 0} W5u ay) adtasar ag, “Aem Aue ut papuysal aswuaryo
opayoaar ‘papuadsns uae sey asuany nod yi nok 0} quad o} asnjau ew
yeu) pue ‘Surpueys pos ut si pue panssy Ajpiyea usaq sey asueni| mod

2uy Aan oj yu ip aney aes jeun earBe no, saayp pasuany| Alpijen

ine ajgedey e are nod yey) juasaidas no, FE) ay Gap ACY CUA “gL

“PIEU}H09 Spt] JO Ypvaag B paUaSp oq joys salessous Woy 10
Btu ‘eyep audspaye ‘suolpenuMun yuoydasal Guy ustEN

6] OyM Je) oty uiAup auokuy "OP SepORg ANGEHT Gs

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soaporea pjet-puag e Sujsn oppyn seo spy Bupyessde so beyapa *9
“pazyepuen 20 uopoys ‘pebewep

S| 18> YY PUR SANOL 40)pe 1B) mY UINIOI (g 10 “ed ayy 0] ABEUIEp MOTE
soasny) preGassyp inypie qypAs0 Aypeuop wayyy (p {poxpepuen so ua]O}s
S| 183 21g) PU YLT) Oy pure sMOpLIA pe asop ‘saaap |] HIO] PUR BsOp
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urea] noA Woy 10 10920 3 USYEA.Ae9 Of} J0 $50] 10 03 ofeumep Aueyoder
Apdunoad 09 ey {, ou 29 pozpoqine Yeayp jenopyppe Ue 40 NOK *g
26 {s0,e}g poyugy ayy ‘Uoyssptuzed sno gym 10 ‘epeuiey fo

Sppsio ‘apenas Uy popuay 1 (6 16 feperes ‘Vejsspurad sno MIMO 'sazEIs
POIUP DIY Jo Opps ‘soyers poypiz) Olys Ly] Pa}uas H(g SPapeopong ayy
Jo Agecopyaoa {7 ‘pueqesuos 10 ayueysyns paypoujun? 8 Jo uoHeModsuEH
ayy Guypnpuy “oweauapsya: 10 Auojay e se pebeip aq Apadoid
pytiod ely Ppl? 10] (9 Sa2UeysqNs payor UdD 8 10 PONS 40 OIUONYUT
Oi) 4apUN ] ABATP Oty ay]ym fg Ispeor HaAEduN Uo 10 359]U02 10 O81
‘450) 2 u] payzzado aq 04 (p [Bujyadue ysnd 40 a0} 03(¢ fang 205 Auadord
so siofusssed Aiea on (2 ‘py ydesfeaed wy pouyep se ‘xenyp pozpoine
ue ue) Joie suadue Aq (| :pasn oq 0} 2) ayy yuuad 30 Bsn NOL Y

sy qdaaBored syyy jo unpyepaqa & 3] 3]

"$1509 GNY $334 ‘S35NIdxI
WOT] GUIVIAY TIY SHICNTONI 'S1SO3 JOVUOLS CNY AUSAGQTH CNY
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SIN) OSTY J) “UAANIA TOWAYG TVILENd UO UIATUM TOUT S501
CY LINALAAYS JOISGVON'NOIF1OUd $193457 TWHHOSUAd JONYVENSH
ANIGIDOY WHOSUSd “JONVUASHIAUTIGVIT TWNOLIGGY ONIGNIINI
‘GULdII9V AAVH NIOA LVHL STSIAWIS THNOLLAG ANY CNY NOWDIL0Ud
AATIGYITTIY SCIOA ONY OL NOISMTIONG NY SI IVINTH MAOA SIVNIAUAL
ATIVIWWIOLTY THM “HAAING G3ZIMQHLAUNN KY Ad Uv) FHL
40.350 SSCNTONI HOINM ‘HavudWabd SIL 40 FIQUIIOIN y wauaaibe
SHU) OEAOIA IM ‘op 8} {2} 10 ‘op Aeur JOAUp 2 10 HOA SDUM] 19Y}O pule JED dy)
jo ssh Wea) 5 PPLOA S287 SY JO 33 PONTING Lh
“MBIA! LO JaNOISED OM SobreDIaAd Aue 10) punjoI
@angooel y,nod pue sabreypiepun Aue fed ro, “Yo}ye|ndyeoa1 0} palgns ae pue
JEUl] JOU 812 Proday UIAIA! aly) UO UMOYs SedIeL By og ul 101 “OL
“woseal
Aue 10} 123.34) Buysnonad so Gussassodas 204 se ypns ‘uatuaaiBe stp jo worejols
Aue oy padsay yiim-29y anjenstuntupe aqevosea: v Aed ose jun no, ‘sabueip pue
suay abeioys Surpnpuy‘suonerora sanyo pure yo) Syyeny ‘Gunped 10] §}909 uno pue
sopjeuad‘souy ye Aéd j,noy SOY OA EATS|UPLIBY PUL SISO SesUaeNy SONY ‘gL
“uondo sin BION {IA 2D 94) JO. 9S PoIgyorY
{popea S| aUIWUByEp aM Se 'Stioy]el g 0 dn} Alaatjap yon} Avuafsoure ‘speys
wan( {ajqeradouy souonag 1e9 ay 1) Dutdo} ‘aniaras aun eH ‘smNOYDO| ‘SanIASp
Anua ayourad pue sky So] yoy aaj Ajrep aif) 0} woNIppe v1 afxeUD ou ye aouEysisse
apispees sopiacid NS ‘Ap jeyua) feted 0 yes 104 JUSWUDOp jejURN at UO
UaRoYs ajes dtp yea! }danve nod 1 yysy 10} Aed J), nok ‘oiqepenr azayyy “Alojepueu!
YOU 5} pUB anUesNSu JOU St (NSY) aNADIeS apispeoy "FINARYCS OP[EBEOY "p
“Aep aqua ay) 40} 120 ay
ane ,uop nod 4! Aep ry e 20) Aep sed ayer ayy pabseyp aq yea nog, “I Jdanne nox
jt eoueansuy dq 10) Aed jo, "OSURANSTY (aja) WOR ONY Hay [CUCHEY “E
‘Aep anjua au 12 8ty aney |,uOp nox JI UaAe Aep
yyy 2.204 Aep sad ayer ayy pabreyp aq nas nok yeu pueysiapun nog yydande NOK 1
STHBIMSU] JUBpHoY jeuosiay 404 Aed |) OL “Td

 

  

‘Gl

“FOUND ay) Je Biqeere ainyrorg e ut pouteydya si ue
samnsur uapuadapul ue Aq parayo sl 453" panwua ao}. 2q BAe ],UOp nok
ji vena Aep jtnj 40) Aep tad ayer alg patveyp aq j},no, “Wicame nok yt 4S9 104 Aed
Ifo, “spodssed °¢'7) UOU pea qua suajua! UCL eWATUL pue siaqUaN HeIpeUe)
01 AU0 aiqepee s) alqepeae aloutA"T. dba,

  

raspyaund

121} 10K 105 ydianes euasand ‘sn Aq paysanbeu j] ‘pue yy panjaes nox uaynse yey
Se YUE} ony Ol] YY Je aly WIN}E! NOA J! abierp aa[Alas jan] e pioae Abu nog (p)
“JaN} JO aes yiepa2 e you st aBreup aatases any aul yeu) abpaynotnpe

no, “uordo anjasss jan) ay} 40 obser ooylas jany ayy ueL JMO} aq ABW UoNEIS
SNINGS [210] Bye josunOA se3 34] Guyanyos Jo3S00 au abreyp awuasas jany ayy veUL
sano] aq sAemje st uoRdo aau9s jan] ay) Jo ys00 uayeB-1ad au “ulMyas jo aU]
BYTE YUE) 8) Ut Yo} JON} 10} 4p|y> Aue aaladar jou jm Hod png ‘abGieys aHALas fan
jevonippe ue snouy you jumnod ‘uondo siuy asooyp nok yy afieya anaes pryest
Apd jou ja nod pue aseyund ry JO] UALUNDOp equal By UO UAOYS Se pabrEyD
3g | NOA equeL nok yo BuyuutBaq ayy ye vorde aguas jany oi Wdanse nod 4] (9)

“ynsal atues aip Ajeyeuntoudde aonpoud soyey vowjeB ad pue ayy

-tad ayy ‘woqjeynaye> Jo asea 20} pasn ase spoyjetu oay ybnouyy TusuMOp [equal
Bu} UO UMOYS 9421 LoyeB-sad ay] SawH ‘PyURL Of] ISeIeOU Buy OF UOD Papuno:
‘adneb payeisut-ioyoy ay) Buisn Aq) xe ay) panrogas nal vols se ye) au WINiad
nok vaya je $2 JOU S| Yue} ayy 1Nq Nsanbal mo wo yiapay e ya sn apiaold pue
eva! 8yy) Dunmnp jany Ang nod jt pasn s] ayer uoyeBsed ayy “yuownrop [equa ayy
UOUMOLS oper aL ay) SOLU) ‘Ha}aUIOPO 5,109 ayy LO UMOYS se “VAnLD Sale JO
Joquinu ay Ayduinuy om Yunowe siyy 3}2]N>}e9 o] “Jeuar ayy Huuinp jany Ang you
Op nox 1 pasn s) ayes apui-zad ay “Wuawungop jequal aif uo payDods ayes voyeb
Fad 10 apwsad ayer arqenydde ayy ye abrey aouuas jony e nod aflieup jm OM 4
pawn ‘vod UeyAt YL UE SeMA UU fOTY SS} YA eD aq] LuNjaE nok pure yeyuay Mod jo
wiuujSag ayy ye“ajqepeae arayad uoRdo. artes jan] ayy Wane you op nod y(q)
ssuondo Buyjanjas aarp are arayy ‘Ajdde you sa0p (e) 4

“sale
jequad je}o) nod wo} pasianal Bq jak Bap Ye} 9) awl, YIRBA Je poseypind
fen) 40} yjova1 8 Buypyaoad Aq aanjos yo ump ze oBseyp spy3 pjone

NO| "jey194 0} sod sayUTIOD atp Je pue JUALUNAED [ejuaL a4) UO pasopsID aq

{Us UORyA Jo yunOW e ayy ‘payUON SYR O} 90} IBY & Ppa Ie GPA IEYL ebpojMoNpE
HOA 'saqlus gy wer Ssoj aAUP HOA 4! Ye] Aq ported 4 ‘aqepeAe azatyyA (B)

‘ ‘ase au skeae

YOU S]JeUp 4g ‘fan 0 Yue je ies eu0d sfeyUas soy "BOUL SOyLSS PONY “O}

-. “shop (Bjuoi JO

+ Jaquunu ayy Aq pag nny ayes Ajepaiqeaydde ais 24 ‘hep asuaeigioj
34f} BABY ),UOP od J] AbD |iny #10] ayes Ajiep aiquayjade aug ded oj aie nod ‘ase
Jalpys uy Yuauunaep jejuad ayy uo peypods se ayer jaqd Auep aun Aed nod A]
jo peaysu ji ydaove no pue ‘apqeyipae st Acid jt ]UaUUNDOp equa) oy) UO paypads
Se 3} ACT Ajtep op Aed 04 anc yhanne Nok j| "SOY FRAIL ABNER S50]
“roves yedas ayy sa ant6 nok pp Ajuo

siyedtad asoyy 20} no asunquutan (lm ai ‘panedal se) ayy avey 0} nod azuoIE ama 3)
pa nok 0} 20nd 1s] sean }] WOL|IPUOD BUN 0] 489 BU] 210]594 0} 1509 payeUNsa ayy
nd ja nod uasueo sno woullas paltedas 100 ay aaey 20 stedal nox y} "JuasuED
Uap Lond ssardxa sno jnotpuas paredal 169 O47) aAey 10 sede: 0} pazLoYyne jou
are nod yey] pueriapun mo, “sypeaard ate] yey ‘ey EAS Aq payunt si auabybou
Areurpso 10) Aypiqey| anok jf se qpns juawaarBe sup yo sua ayy Wey) UaIayID
ale Jey) AAC] UO SuoIUpUCD sarinbad jeiwas sup Guparod uoy>ipsunt e Jo He]
au 4] “Aved party au wos paparjon aA yetyn pue pred nod yeute vaantay ‘hue j)
“SUSLOLIP a PUNfa! || ON OA WOH} SSO] Ino Papasan aney am soye Aled pry @
{wy $50} 40 J29}]09 aM Jy] 10] ajgusHOdsal siyeip Aped pry Aue wo] S50] sno Jo
jee 40 Aue yoa|109 04 gn azpoypne osfe no, “feittel 1n0K jo uoNa|diuoD exp Joye J0 ye

 
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Case 2

(ELZMLELY

"eo
31 dtm 10 Areaydpuoy sie mau 0} off aseard ‘aanogy Adenitg sto yo AOD € 104
“sopuafie juauaniejua sey Ag paunbas aq Aew se 10
$9,048 10 80} Payedar are yeu asi NEY) IOU}O ‘IED ae i0 pen 0} SUN Zaxatpy
SH JOU OD 94 "WUN}aI pazuoUyNeUn Jip 10} 99] @ sn Aed mn nok ‘uoneZpoINe
NO JOA LOND, Hues oy) weY) s2tj}O WO}LIO} eo) yun ayy wAN}OL NOK J 6648
ie ymin Se aq Aewu opm y$09 jeyal jjnj 10 1yeda2 Sy} sn Aed rua nok QuawerE
o.stedar auinbar ‘uoyuudo ajos mo ut ‘oy se os pabewuep £0 $s0} axe sauicss923e SI
‘O/pue stun aip jana padaoze ney nok j usa ase Jo-ssajpiefial saltossane sy,
due }UN at) o} Beep 10 $50] Aue 10} axqysuodsas axe no) 3e9 ayy jo ped Jou siyuN
YL WweuNnop jeyuar aug uo uMoys abyeyp Apep jeuonippe a4) Aed [IM nod yun
?ypns war nod Jj asn sno 10} waishs Fiujwopssoy jeqO|9 ZaraysA e jeyudd 10} 1080
lout am‘suoneroj snovealy *Hi

 

my “Wot a}eape
1 sdays ee} 10 woe] uodn Atos you pynoys nod pue swalsts au oy sso00e axe
OU pai nod o1pey ap] ores 10 PUR LeISUIC NAIA JED B aABY NOA eM posiape aie no.
sSafur] “Bayoe oq Jou APU yuowudinbe ons sevaMoy juawdinba oipey ayyioIES
© pue Jeycug atp aney Aetu joal sno w] SopyyoA aUNOS ‘(s}a9y LORdUISGAS jenuLE
1Up 10) ayq)stiodsos Ajojajduuros aq oj sodabe za}ua! ay) "uorsiacid Siu) jo uonejoiA Ut
NOIMaS @ a]BALIIe $90 J3}Ua2 & 12Y) OAS OU} Ul pUe anjAlas Aue apeAle jou sleys
do]USY “ONPRY atfayes 10 pue seISUC YA paddinbs s} apjysa Aiens JON YOHOd
OPAL Pea foe ae cess Som) 2 uel (28 997 88 1
EISUOY' BR", If2) Aep uo 20) 189 ayy Jo ast 10} aye 4 fo Loriod eye) OF
14} 0} A084) Aue spun sassoy Aure zo} saBeuep Jj Jeycuc) suleBe supe] judy 0}
valbe osje nog sarnyey wayshs seycug Ave £0} Ssajuuey ‘siapiAoid anlds JeICuC
A) pue’sn ploy pue aseaja: 0) aaiBe ny quawearBe sty) sapun panbor ayn
Te Uayer 109 ay) WNFO! O} y1ey MOA 31 2D at BYEIO] 0} HatEDO]UO Ae] a;qeue
fy woHeUUOWU Aressazau fe YIM JUDLLIeDO}UA Mey apiroud Aeww JeICUC JeLN datbe
We PUR]IOPUN ROA “WOELIIO!U] LAS JO BSN BY YPM uONIAUITIOD UL JE}CUC Jo
asn Aue 10 no 0} aye 8q JOU HM Siay pue SsaprAoud anilas sy] TeysuC)sised st
8, Ue UO SLIe\SUC Yoneuyy papinaid (Uaddns ano: ouoneBiAeU f'9} uONjeuO}UT
Ly” Jon1U03 4184} @pjsyne sa9}a398 10 suOR|pUueD 9) ajqpy S| sfry JOULJeICuQ JaNAloU
iue 'Ag payin) ae sages ‘srapiaaid somuas Jaino gue Auabreue Hunsixo
DALI E Se Spe JeISUC) ‘aed [Je UO Bpe|eAe ale sanAIas AASUG We TON ‘Apadod
lol UN} 0} 1e}SuC 40) Buyexado pue ajqepene aq 0} sajSojouyray ayyiayes pue
OUuaS Jinja JuaUIdINbS pue wWaysts (euPeje S129 ayy Sambar JeISUG Jeu}
iwejsiapun nok yety abpaymouyze oj “Sa0]eUas asoU] jo |e azuOUINE Iota
h ‘sa>uas Jeyjo pue Ouefieuta sapinod yorum ‘wayshs seISuG ay Wale
a

dlinbe aq Aew 1e9 aig yeu abpaynouyne nog “OLDEN ST SIRS Hae Tegap ‘gz

SAT URRISAS EDV HEY SY LOZ

M'O8

"yoarayy auasopsip
20 voisyaauoy Antaum ay} 0} payeyas ayetu Aue 0} padsax yy sans} pre in0A
ysureBe asinovar ov ancy jp nox yeuy pue ‘ssanoud uoistenucy Aouelmnd s Janse)
pred znof esn 0} you uasoy> aaey nod yeuy ‘ssor0id uorsiaatio; Mund e si
Jans} pied MOA yeu puPjstapUN no, “vaNssy pieD snOk Aq paydde afyey> Hussanos
uojssaauo) Auaun ayy aoejdas I obieyp sil “wowpesued sly) 0} Buneyay
Sunowe 01 pordde of uety seybiy ou abieup Busssanosd e ayeuoddiozur ya pur
sramay Aq pousiand 312 UOISIAAUO eB UO pased 84 [IM UOISIEAUOD INQ “Ianss|
pea nok Aq pouuoped voisienuor Aouauina ayy ssey 0} agueape wf ysonbal
Lay ByLUgNs nod ssajun sn Aq Aruauina Guyyiq syunon2e pred au) 0} payeauon
ag jim sobey nod jo yunowe jnj aly ‘sieljoq “s'q ueUT Joyo AauasND e
$00} payyg axe sabvey> ino pue sayeys payupy au) jo apisino voRMNSULjepueENy
e Aq panssy sj yeyp plea abveyp Jo yan e asn nok J} *WOPSIOAU i
‘Wwapisaid aojA 2 s0 jwapisaid ino Aq paubis pue
Bunua uj oq ysneu syyBi ino 10 uawsar6e jeyuar sly) UL abel Any SORURATS
‘yuourseube jeyuai sity H paypads Agpydye asimoyjo ssajun syusumop
pue sajeyd ‘sayossanze ‘juausdinde ’s}on) ‘sony sapnpuy pue ‘juawereidas sy 10
Pajual apmyad sip supa juavaarbe sia uy Je), plom aul, *, IE), f
“aewep 10 s50j
Jo} shaupo Aq swujep> 10 sn 0) ayqistiodsey aq y.n0y 7]Ne} Je 1 ou jo SsajpreBal ‘sn
Ag pajpuey 40 paaenal 10 ‘sasturasd sno uo “appitpaa apjaias Aue ule) oy uo 10 uy

  

  

‘8
‘RB

9

Ayadoid Aue oj abewrep 10 jo 60) 0} apqisuodsal jou are ayy FEY ayy Uy APEAOLY “gz

a4
poypaso Giujag junoooe ano so au] 34p313 sno oy Aide sans syansst piey snk eu
pue ‘jeyues snok yo uojjayduiad ayy uodn apise yas 40 antasau Ssanva Aue j0 aseajay
3Y] BZUOURTE [fA BM JEU) PUR|SJApUN Nos “JERLAL aly Jo UDLLaDEOLLWOD Jo OWE
Sif Je UNOWE FEYO} PareUuyss yeep jo apse Dunas 10 UoHeAiasas oy) 0} UASHOD NO,
"Jevuad Jo atuy Buy ye yar nod (ony ye wONEIO| aie SuBis uo payeopyy yunowe
}Socap ay} 40 ]UaLUNDOp jejuaT aM] UO Payenipwn se eyia4 sip NOgE UoNE|Uasazdal
Anod uo paseg wowoalby siuy apun anp sabzey> eyo) payeunnsa ayy jo yunowe
BYL Jo 25}ea15 oyp Jo} opise yes aq deus payuny 53 pled Fey) UDI O} WNODIe oN]
ul Spur pued HGS @ BSN NOK 4110 'safizets9 jepuoy amok jo Juousded 10} asaud nod
Upiyatpie> ou) Jo sans} pe au Aq pantacar 20 opise jas aq Aout ‘jequal Siu noge
uonewasaidal inof uo paseg ‘woUiNDop jeyuad aig UO payenputse wowaalby si
Jopun anp sabreys jojo} payevylyso auy jo wunowe we o} dn 4ypon Mok pied absewp
2 25H NIOA jt JOY PBLGJU] aed ary AoA yey obpaynousre nop *WMaSoY ple]

Auv abireyp 0; sabe voy se)joo no s0 sn azLoyyne soupy pue squetie
vopeyoo Aued payyy IA WoneIOjUy DIED 14992 pus ypoa wy}
O18YS O18N azpoyye ospy nod pue Asuabe Gupsodas ype ayepdord

ue op uapyop ions yodes Aew am gem pueluepun noAyueded 10)
ple 3q9p 20 g]poso @ payuosaud mod yeuy JUBAD ays UY SadHOU UOIPIYOD
Jo spuewap Aue puss 0} a2ejd ay se ‘ajyoud sawioysnd Aue ul Jo JuowMDEG
[eway ay uo nod Aq papiroid ssaippe su) as Aew pue uonras siy) 1apun
54807) Jo sofieyry Aue sy09 0} oye Aue Ul sn 0} papiacid nod jeu UoHeUO;U
jeuosiod ay) ssacoe Aew (shuabe woqne|jo> sno 10 am yeu aaibe o5ye noy $509 10
sabiery) anp ised Aue jo juauited aig ynoge ssouisnd jo axejd nok pe fay Lue
AnoA 10 NOA Peyt09 oj ‘yuabe u9H9}{09 10 pue sn azZuoyjNe nos ‘sywiad A}
up J1°1,51503, ‘Ajanntrayiaa} saa) Uol Da|}o> pue saaj spun} yuaroyynsiN ‘Arangdal 1800
‘soa anjensuuipe Aue oj uolyppe 1] s3aj sKauiio}e pue sisoo non uOIe NA
jotta ‘Bujpapy sobsey yons yao 0y Buyyoss uy andui BA yeu sso Aue
404 Aed osje 0} aaabe no, pash juawAed jo poyjatu ayp jo ssayprefias Apuowpne fo)
at) Ag paysod ayes Suyrenoid wunwuyxew ayp ye sy0) pautouy snd ‘qos jeyuaased
669 sp uuntuxeur e 0} di ‘pasn you 51 ()0}-8 Unita uo sKep Aue Buupnpu eyues
34) Jo Ap yea 10) aaj aoualuaauor so'e$ e pabieysaq jum 0A o}-a asn nox

ve

‘{.seB1ey9, ‘Ayeanrayon) $89) st anayoiyaa me] ajqeaydde Aq papnurad
ayes saybry ayy 20 aouejeg anp ysed aig uo yjuoW Jed 2 | jo
afieyp aye] e ded oy aaibie nok ‘saa uowpunodwul pue abeioys ‘Huissoy
‘saGieup 110} ‘sanjeuad pue souy ayjen pue Supyed ‘sabreys equar
‘ye) ay} 0} aewuep 20 Jo Sco} 10) juawAed ‘uoWeyut| noun ‘BupnpoUy
‘sasuadxa pue soa] ‘saBiey> ye Suypnpwy ‘puewiap uodn juowasiie

Si] Zepun sn o} anp sjunowre ge Aed you op nok yf *SHOTTIEPOD “ez

183 84) Ua 0} pasn nod
pre) 943 0} pareyp aq tim yS0) tans yey ase nog “Je ay) ssassodal
0} Si Aq paunul syso> ajqeuoseal pue jenve ay Aed oy gerbe nox
‘possassodat s} 280 04) 4} “aduenpe UI no Ayjou yupaan an yey aoifie
NOA #2) tf) UlEIGO 0} apew sem uONejuasardasstu ee JBAODSIp am
alu Aur ssasoday ose ue) ayy, ‘peuopueqe aq oy sueedde 10 Wuawdaibe
STU) JO Suda} 94 40 Mey atp dle|oIA 0] pas Huaq ‘payed AjeBoy!

punoy 51] auiplue se ayy ssassodial wer ayy “AE5 BUS BU RRORSOdEY "zz

‘sasuadxa pure $3509 payeya! ayy Suypnpur ‘weep ypns
tsuebe ssojuusey yy] ‘dno yoyuay 229 syry pue eu "wayshs sep yuuay
SiAy ploy pue Ajuwuapur o} saaide sasuany siay Hunjuel Jey) janpuoD
jqeuoissucoun so axndarap Siojun saBaye yeu) “y7] ‘dnosg jeluay
Je) SiAY £0 ‘VT] “waysds 22> y Jusy Stay sulele spew s} uoLpesuEN
Siu} 0} Buneja) uiep 2 pue aasuarr] waysts siay we Aq payeredo
UoTeDO] & Te aed Saxe) yea! oun J] eIUa! aly YNs LONDNUOD
ut saBewiep jeuanbasuod 10 jerveds “eyuapiuy 20} sn \suiebe wep
Aue anjem no, 38) 84) Jo uoHeado paygiyoid 10 ash pazuowneun
Aue ula Sypnsod yi (q) 40 ‘nod o} UstuNy am yeIy LONPajord
Ayuqey Ave jo syuuy 949 10 vonipsynl ajqeaydde ayy jo are covernsuy
APPA OU ayy Oj uensInd Ayqusuodsal repueuy yO SRUI wNuUE
aUf] J8uys 40 ayealdl auy spasoxe Yorum (e) ‘$99 5, Aawoje d[qeuoseal
Sujpnput e0 aly jo asn ayy jo yno Buysue snout aaa yeuy asuadye pue
Ariiqey’ss0y Aue wioy ssajuuey sn pjoy pure soy sarueduuos payee pue
juared sno’'sn Ayuwapul o oatbe nop,

 

‘dep aiqua ay, 10) 189 ayy
ney) uop NOK y wana Aep j[ny B30} Aep sod ayer aty pabrey aq jun nod
Jeip puejstopan no, Aayjod pyy stp ty paysy Ode PyY Oy suO[SN}IKe
JOUIO THY O) SUOPNPHO oe Yrs Jo 12 GuaureasBe poytod sf
put yderiered uy paquasep se 169 ay) yo asn paygiyord,,

We go ne Buisue afzwep Ayatord to danfuy Aypog 10}
Ayn igen 0 Aydde you ssop yyy yoquon sawp ye ye quar Aayod ay)
Jo sue} ay) wowsaifle siin uf paujejue Gurpdue Suipuersyyanou
Jeu) rdonxa “anoge 41 ydeifiered ui paquosap suoneiuy pire suo}rpuoD
BUY] 40 fe 0} algns $} Pue aiNypaIg afqEpERe Oy) WH Paquasap A
SOU SoLONIsHY AlleH Ssanxe jo Ayjod apeiedas esopun’gy ydeiies
UL pauljap se ‘aalup pazyoune ue 6} papiaodd aq iim abesaro
[euomuppe siyy “enoge 6) ydeiDeied wi payeys Sykul| seq auf jo peaysus
“wappre y9e9 Jo} 3LuH| 000'000'Z$ 20 000'00 ie paperjuen ay wey
S204 10] Jou ng yuapnr~ yedJoj ebewep Atadord 20 ‘weap ‘nful
Aiypog 10} jeyuas jo aoejd ayy uo Burpuadep ‘qoo'po0’2$ 20 000'000'1$
2g seus Uorpapoid Ayyiey! yo syruay] pauiquiod ayy pure Aremud ag yes
anoge 61, ydeiBered 0} Buypsonse sn Aq papiacsd abzionoa ayy ‘352 join
uy) wydeone nod pue ayqejiene }) abeavon aouensur Auigen jeuoqippe
40] Aed yno, ENO

“SIQEHEAR SI aQUeINsU! LNs aleyAooueINsUL
veapayy aypiedas 10] uo}e70} Bunual atp Je apew aie sjuawabuene
pisads ssajun Seouesiunp Aue japan ooxeyy ojur aaye) aq Jou

Wu 12) dty} pue “colxeyy ul eDevano2 ou st atau “sabemep pue Sasso)
Jo} Aed 0} 2ueinsuy juapyynsul sey 10 aueMsut Aue aney jou saop oy

   

PUl'Lg

’

 
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ENTAL AGREEMENT NUMBER: 167752896

 

Customer Name: DAWN VALLI Vehicle Number: 67231780 Vohicle Exchange Area
Wizard Number: 28D Vehicle Group Rented: plandard SUV-5 Pass Previous Car: 67280644
Avis Worldwide Discount: LUNDBECK ING. Vehicle Group Charged: Pre: Odemeter In: 00693
Customer Status: AVIS FIRST Vehicle Description: ONG FORD EDG4 AWDToatal Driven: 00083
Method of Payment: VISA XX4567 License Plate Number: VAVBBS01 Lecation: DCc2
Odometer Out: 15 Date/Time : 12JUN1464 515
Odometar in: 428
Total Driven: 496
Fuel Gauge Reading: Full

 

Pickup Date/Time: JUN 11, Eyer COPM Return Date/Time: JUN 16,2014@ 10:51AM Additional fees apply

Pickup Location: 7432 NEW RI OAD Return Location: BUILDING #306 FEDERAL CIRCLE it. changes are mado
BALTIMORE- WASHINGTON INTL APO JFK INTERNATIONAL AIRPORT to your retum date, tims
HANOVER, MD,21076,US JAMAICA NY,11430,US andiar location:
410-859-1680 718-244-5404

 

 

 

   

Rate Chart: Froo Miles: Time and Mileage:

Milos: Your Discount Optional Services Total: 0.00
Hourly: 49.51 486 MI @ 40 = 198.40

Daily: 86.00 5 DY @ 66.00 = 330,00

Adi day: 0.00 on neces scenes

Weakly: 396.00

Monthly. 1584.00 Time and Mileage: $28.40

 

 

11.11% Concession Recovery Fee 59.97
CUSTOMER FACILITY CHG 3.75/D 18.75

TRANSPORTATION FEE 1.85/DY 9.25
VEH LICENSE RECOUP 0.43/DY 2.18
Sub-total-Charges: 618.52
TAX 11,500% 713

 

 

 

Your Total Charges paid: 889.65
Prepayment 0.08

 

 

Thank you for renting with Avis.

if you have any questions regarding eToll, Please contact our eToll provider, HTA at 1-866-285-6050 or visit their web site at wrew.htalic.com.
For alt other inquiries, please contact us at 1-800-352-7900 or www.Avis.com,

At Avis, we are committed to providing you with the best rental experience in the industry. We are in the business of treating peopta like people.

Your vehicle was rented to you by ERICA. Your vehicle was checked in by MARK,
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Case 2:14-cv-06072-CCC-JBC Document1 Filed 09/30/14 Page 31 of 32 PagelD: 31

Ke DISTRICT OF COLUMBIA
NOTICE OF INFRACTION
METROPOLITAN POLICE DEPARTMENT

DCFRO1 73
FX RADAR

 

 

Mail Date: 06/18/14

REGISTERED OWNER INFORMATION

F042654197

PV HOLDING CORP

7432 NEW RIDGE RD PO BOX 810
HANOVER, MD 21076

Your vehicle was photographed violating District of Columbia traffic
regulations on the date and time listed below. Under District law, the
registered owner of a vehicle is Hable for payment of the fine for violations
recorded using an automated traffic enforcement system.

POINTS WILL NOT BE ASSESSED.

For information on photo enforcement technologies, please visit
http://mpdo.de.gov/automatedenforcement.

If the ticket location includes (WZ) or (SZ), your fine has been doubled
because the location is a work zone (WZ) or School Zone (SZ).

 

 

 

VIOLATION INFORMALIO On the back of this notice you will find directions for answering this ticket. If you want to

Ticket Number: Fo42664197 contest the ticket, penalty, or both do not pay the ticket until you receive your decision from
issue Date: OB 14 Issue Time: 4:57:18 PM DMV. Your answer to this ticket must be received by the payment due date listed below.

Violation Code: T7120 Failure to pay the fine or contest the violation in the manner and time required is an
Description: SPEED 16-20 OVR LIMT admission of lisbility. This will result in additional penalties and the loss of your right to a

Vehicle Tag: iD eBEasooVehicle Make:FORD hearing. For vehicles registered in the Distict of Columbia, the Department of Motsr

peed Vehicles will place a hold on the renewal of the owner’s vehicle registration as long as the

Vahicie S peed: Bzmph Fosted 51 NE men ticket is unpaid. Your vehicle may be immobilized or impounded if two or more unpaid

tickets are on your record.

 

 

 

 

Detach and return this portion with your payment in the envelope provided,
or you may pay your ticket through the Internet at: htto:/Awww.dmv.de.gov

 

 

 

 

Ticket Number: ro42654197 Vehicle Tag: mp sBMss00 Mail Date: 06/18/44
Payment Due Date: 07/18/2014 . . . a
initial Fine Amount Due: $150.00 you can view ful color versions of the image and video (if available)
Total Amount Due After Payment Due Date:$300.00 [citation Number: hetaullwverw,publissite-teb.comn Number:
Amount Paid: $ 04265419 275047485

€4182-0000849.09

UC UE

JUN 2 7 2014
0114169000428 7400L000L5000F 042b54147
 

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‘ Fixed Radar Diagram Roadway markings are a visual
Based on the radar-detected speed of : - reference that the vehicle was

the targeted vehicle, two receding te oe
epg s ‘ traveling in excess of the posted
violation images are taken when the “ ee

vehicle is in the field of view of the speed te spon roadway marks

~ TRE HFT

|
0 25 50 75 100 125 150 175 200 250
Distance (feet)

 

 

 

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HOW DOES THIS TYPE OF SPEED ENFORCEMENT WORK?

A 5° wide K-Band radar beam using Doppler radar is projected at a 20° angle across the road from the front
of the stationary radar unit. The unit takes 200-300 speed calculations per second. Deployment logs are com-
pleted and validated by certified, trained police officers to ensure proper setup, testing, and operation of the
unit during the deployment period. When the radar control unit detects a velnicle in the beam traveling at or
greater than the speed specified for that location, it instructs the camera control unit to take a set of photo-
graphs of the detected vehicle. The camera will not take a photograph if the system malfunctions or if there
is more than one vehicle in the radar beam. A copy of the certified log, photographs that show the violation
and a2 close-up of the rear of the vehicle, will be provided as evidence for any adjudication of this ticket. Your
images may or may not Include roadway markings.

 

| DIRECTIONS FOR ANSWERING |

YOU HAVE 60 CALENDAR DAYS FROM THE MAIL DATE OF THE TICKET TO PAY OR CONTEST THE TICKET.
IF YOU DO NOT PAY OR CONTEST THE TICKET WITHIN 30 CALENDAR DAYS OF THE MAIL DATE OF THE TICKET
YOUR FINE WILL DOUBLE.

 

Please choose one of the following answers: 1) Admit Pay the full amount due; 2) Admit with an Explanation
Request in writing that the fine associated with the violation be reduced; or 3) Demy Appear for an in-person hearing
between the hours 8:30 am - 4:00 pm Monday - Friday, at Adjudication Services, 301 C Street, NW, Room 1157,
Washington DC 20001. You must present at a hearing or submit with your mail adjudication request, any documents
that you believe will support your defense, i.e. police report, diagrams or photographs. If you want to contest the ticket
fine, penalty or both, do not pay the ticket until you receive your decision. For additional information, visit the DMV
website at www.dmv.dc.gov.

There are four ways to pay: 1) online at www.dmv.dc.gov; 2) by phone (866) 893-5023, 3) by mail; 4) in person at
Adjudication Services, 301 C Street, NW between the hours of 8:15 am and 5:00 pm, Monday through Friday. Make
your check or money order payable to the D.C. Treasurer and include the ticket number(s), your vehicle license plate
number. If you are paying by mail, return the bottom portion of this notice with your payment. Mail your payment to DC
DMV Adjudication Services, P.O. Box 2014, Washington DC 20013. Do not send cash. Returned checks are subject to
electronic redeposit for the face amount and a retumed check fee of $65.

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